Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 1 of 17




                           IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                               Case No: 1:22-cv-22538 (Altman/Reid)

   PIERCE ROBERTSON, RACHEL GOLD,
   SANFORD GOLD, RAHIL SAYED,
   CHRISTOPHER EHRENTRAUT, TODD
   MANGANIELLO, DAN NEWSOM, WILLIAM
   AYER, ANTHONY DORN, DAMECO GATES,
   MARSHALL PETERS, and EDWIN GARRISON,
   on behalf of themselves and all others similarly
   situated,

          Plaintiffs,

          v.

   MARK CUBAN, et al.

          Defendants.


         DEFENDANT MARK CUBAN’S AND DALLAS BASKETBALL LIMITED’S
       RESPONSE TO PLAINTIFFS’ EXPEDITED MOTION TO SUBSTITUTE AND ADD
        ADDITIONAL CLASS REPRESENTATIVES [ECF NO. 80] AND REQUEST FOR
                     HEARING PURSUANT LOCAL RULE 7.1(B)

          Defendants Mark Cuban and Dallas Basketball Limited d/b/a Dallas Mavericks (the
  “Defendants”) submit the following response to Plaintiffs’ Expedited Motion to Substitute and Add
  Additional Class Representatives [ECF No. 80] (the “Motion”). Pursuant to Local Rule 7.1(b),
  and for the reasons set forth below, Defendants request a hearing on the Motion. As set forth
  below, Plaintiffs’ Motion should be denied, and, in any event, there is no reason it must it be heard
  on an expedited basis.
  I.      Introduction
          Voyager, according to Plaintiffs’ Amended Complaint, has operated a publicly traded
  “mobile application cryptocurrency investment service” since early 2019. ECF No. 34, Am.
  Compl. at ¶ 25. Plaintiffs allege that they each opened a Voyager Earn Program Account (“EPA”).
  Id. at ¶¶ 7-16. Plaintiffs also each allege that they opened their respective accounts in reliance
  upon an October 27, 2021 press conference (the “Press Conference”) held by the Dallas Mavericks
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 2 of 17
                                                                    Case No: 1:22-cv-22538 (Altman/Reid)



  and Mark Cuban in Dallas, Texas, in which the Defendants—and Mr. Ehrlich, Voyager’s CEO and
  co-founder—allegedly made statements regarding Voyager on which Plaintiffs allegedly relied.
  Id. (alleging that each Plaintiff purchased a Voyager EPA “in reliance on [alleged]
  misrepresentations and omissions”).
         In this putative class action, twelve Plaintiffs, only three of whom claim to be Florida
  residents, assert claims against Defendants under various state securities laws and consumer fraud
  statutes. The three Florida Plaintiffs are Pierce Robertson, Rachel Gold, and Sanford Gold (the
  “Florida Plaintiffs”). Only Mr. Gold, a three-time convicted felon with an undisputed history of
  engaging in financial fraud, appears to have opened an account with Voyager several months after
  the October 27, 2021 Press Conference central to Plaintiffs’ theory of their case. Plaintiffs
  represent that Mr. Gold, who is scheduled to be shortly deposed in accordance with Magistrate
  Judge Reid’s Order, dated January 5, 2023 (ECF No. 77), is no longer able to move forward with
  his claim, and Plaintiffs want to substitute two entirely new Florida claimants, Linda Mayrand and
  Dominik Karnas as putative class representatives.
         Defendants have no objection to Mr. Gold withdrawing as a plaintiff in this case. But as it
  relates to substituting in two new Florida claimants, the remainder of the Motion should be denied.
         First, it is procedurally improper. Plaintiffs’ Motion amounts to a request to amend their
  Amended Complaint. But the Motion fails to comply with Federal Rule of Civil Procedure 15 and
  fails to attach a proposed Second Amended Complaint in violation of S.D. Fla. Local Rule 15.1.
         Second, without any Florida-based plaintiffs, this Court lacks jurisdiction to hear the claims
  of the remaining nine named non-Florida Plaintiffs. See ECF No. 41, Defendants’ Motion to
  Dismiss at 7 (citing Carter v. Ford Motor Co., No. 19-62646-CIV, 2021 WL 1165248, at *6 (S.D.
  Fla. Mar. 26, 2021) (Altman, J.) (no long-arm jurisdiction where “Plaintiffs all live outside of
  Florida” and conduct as to such plaintiffs occurred outside of Florida)). Without Mr. Gold, none
  of the remaining Florida Plaintiffs appear to have opened their Voyager accounts after the October
  27, 2021 Press Conference, and their claims are facially defective. The Motion thus seeks to
  substitute new Florida-based claimants at this pre-class certification stage. But Plaintiffs’ reliance
  on caselaw applicable to post-certification class actions is misplaced, and the Eleventh Circuit has
  confirmed a lower court’s ability to deny substitution at the pre-certification stage. Bailey v.
  Cumberland Cas. & Sur. Co., 180 F. App’x 862, 865 (11th Cir. 2006) (whether a class has been



                                                    2
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 3 of 17
                                                                       Case No: 1:22-cv-22538 (Altman/Reid)



  certified is “[c]entral to” decisions on substitution, as “once certified, a class acquires a legal status
  separate from that of the named plaintiffs”).
          Third, the Motion appears to be an attempt to avoid the stay effects of the Private Securities
  Litigation Reform Act (“PSLRA”). On January 2, 2023, the Court gave Plaintiffs until February
  24, 2023, to either respond to the Defendants’ November 18, 2022 Motion to Dismiss or file a
  Second Amended Complaint. In their Motion, Plaintiffs preview that they intend to file a Second
  Amended Complaint that will add claims under the federal securities laws. See Motion at 3, 5.
  Once that occurs, this case will be subject to the PLSRA, including its mandatory stay on discovery
  when, as is certain to promptly occur upon the filing of a Second Amended Complaint, a motion
  to dismiss is filed. But because Plaintiffs do not have to file their amended pleading for another
  six weeks, it is apparent that Plaintiffs seek to avoid the requirements of Federal Rule of Civil
  Procedure 15 in order to get two bites of the apple in further amending the Amended Complaint
  so they can keep this a state-law only complaint (until February 24, 2023) and engage in discovery
  that they hope to then use in their soon-to-be-filed federal securities complaint in this action. Such
  tactics are plainly at odds with the PSLRA’s stay requirement. The Court should not permit
  circumvention of the clear protections of the PSLRA.
          Defendants respectfully request that the Court:
          (1) deny the Motion to prematurely add new Florida plaintiffs prior to Plaintiffs’ deadline
              of February 24, 2023 to either amend the Amended Complaint or respond to
              Defendants’ pending Motion to Dismiss;
          (2) direct Plaintiffs to inform the Court and Defendants now whether they will be
              responding to the pending Motion to Dismiss or instead filing a Second Amended
              Complaint;
          (3) if the latter, direct Plaintiffs to promptly state whether or not they are adding federal
              securities law claims; and
          (4) if so, establish a briefing schedule for Defendants’ motion to dismiss directed to such
              Second Amended Complaint but immediately stay discovery since Defendants will
              seek the dismissal of any such securities claims against them and the PSLRA’s
              discovery stay will come into effect.
  Defendants request a hearing before the Court relating to these issues.
  II.     Background and Procedural History
           A.      Status of the Pleadings
          Plaintiffs filed the initial Complaint on August 10, 2022. ECF No. 1. On September 9,
  2022, the case was administratively closed pending developments in Voyager Chapter 11

                                                      3
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 4 of 17
                                                                   Case No: 1:22-cv-22538 (Altman/Reid)



  bankruptcy proceedings. ECF No. 10. On October 21, 2022, Plaintiffs voluntarily dismissed their
  claims against Stephen Ehrlich, Voyager’s Chief Executive Officer, with prejudice and filed the
  Amended Complaint on October 28, 2022. ECF No. 26; see also ECF No. 29, Oct. 26, 2022
  (Order dismissing Stephen Ehrlich).
         On November 15, 2022, Plaintiffs moved for certification (ECF No. 42), which the Court
  denied without prejudice on November 18, 2022 (ECF No. 45).
         On November 18, 2022, Defendants filed their Motion to Dismiss for lack of personal
  jurisdiction, failure to state a claim, and failure to join indispensable party. ECF No. 41. The
  deadline for Plaintiffs’ response was December 2, 2022. On that day, Plaintiffs moved for an
  extension of time to respond, and on December 7, 2022 (ECF No. 48), the Court granted the motion
  and set a deadline of January 3, 2023 (ECF No. 59).
         On December 28, 2022, Plaintiffs filed a second motion for extension of time to respond
  to pending Motion to Dismiss or file a Second Amended Complaint. ECF No. 67. On January 2,
  2023, the Court granted the motion and set a February 24, 2023, deadline for Plaintiffs either to
  respond to the motion or amend the Amended Complaint. ECF No. 72.
          B.      Status of Discovery
         The Motion contains a number of facially inaccurate statements regarding the prior
  proceeding and status of discovery in this case. The following is a timeline of some of the relevant
  dates. And attached as exhibits to this response are relevant Orders from Magistrate Judge Reid
  (Exs. A-B), transcripts of hearings held before Magistrate Judge Reid (Exs. C-D), and a chart
  correcting some of Plaintiffs’ factual misstatements in their Motion regarding Magistrate Judge
  Reid’s Orders and other misstatements to the record in this action (Ex. E).
         On November 18, 2022, shortly after filing their Motion to Dismiss, Defendants filed a
  Motion to Stay Discovery pending ruling on Motion to Dismiss, which the Court denied the same
  day. ECF Nos. 40, 45. On December 7, 2022, the Court entered its Scheduling Order. ECF No.
  58. The Scheduling Order refers all pretrial non-dispositive matters and discovery matters to
  Magistrate Judge Reid. Id. at 2. In addition, the Scheduling Order sets February 23, 2023 (i.e.,
  the day before Plaintiffs’ current deadline to file their response to the Motion to Dismiss or an
  amended complaint) for the initial exchange of expert reports and March 9, 2023 for the exchange
  of rebuttal reports. Id. July 5, 2023, is the deadline for all discovery, and July 19, 2023, is the
  deadline for Plaintiffs’ class certification motion. Id.

                                                     4
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 5 of 17
                                                                   Case No: 1:22-cv-22538 (Altman/Reid)



           The parties have held two discovery-related hearings before Magistrate Judge Reid. At the
  December 20, 2022, hearing, Defendants agreed to produce jurisdictional discovery on January 3,
  2023 (Ex. C, December 20, 2022 Hearing Tr. at 62:3-4) and make Mr. Cuban available for
  deposition (id. at 78:20-21, 86:3-4). Magistrate Judge Reid also directed entry of a protective order
  largely on terms proposed by Defendants. See ECF No. 63.
           On January 3, 2023, Defendants made production of jurisdictional discovery pursuant to
  Magistrate Judge Reid’s direction. Defendants produced 542 documents and over 1,100 pages in
  total.
           At the January 6, 2023 hearing before Magistrate Judge Reid, Plaintiffs indicated that
  Pierce Robertson, who originally had been noticed for a deposition on December 22, 2022, was
  having hand surgery in Illinois in mid-January and asked that his deposition either occur in Illinois
  or be taken in Miami at a later date. Ex. D, January 6, 2023 Hearing Tr. at 44:22. There was no
  indication at the hearing, by contrast, that Sanford Gold may have health problems, even though
  the timing and location of his deposition was discussed. At that hearing, Defendants confirmed
  that Mr. Cuban would be made available to be deposed on February 2, 2023, in Dallas. Id. at 12:8-
  9. In her Order from that hearing, Magistrate Judge Reid directed that:
           a) the depositions of the three Florida Plaintiffs will take place in January 2023.
              Defendants are to take the deposition of Rachel Gold at her home on January 23 and of
              Sanford Gold on January 24. Defendants “may” take the deposition of Pierce
              Robertson in Illinois during the week of January 9. 1 Magistrate Judge Reid also ordered
              that Eric Rares, Ms. Gold’s husband’s deposition be taken on January 23 or 24 in
              Miami.2
           b) the deposition of Mr. Cuban will take place in Dallas on February 2, 2023.
           c) the depositions of Messrs. Mackey and Tapply, two Dallas Mavericks employees
              identified in Defendants’ interrogatory responses, will take place in Dallas prior to
              February 23, 2023.3



  1 By agreement of counsel, Mr. Robertson’s deposition has been rescheduled to January 26, 2023,
  in Chicago.
  2Mr. Rares is being deposed because Defendants have discovered that Ms. Gold did not open a
  Voyager EPA account in her name, but for reasons still unknown purportedly opened one in her
  husband’s name. See Ex. G, December 30, 2022 Email from Adam Moskowitz at 8.
  3Defendants subsequently provided Plaintiffs with confirmed dates for Messrs. Mackey and
  Tapply’s depositions on February 14 and 16, 2023, respectively. See Ex. N, January 10, 2023
  Letter to Plaintiffs’ Counsel at 1.

                                                    5
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 6 of 17
                                                                   Case No: 1:22-cv-22538 (Altman/Reid)


          d) Defendants will commence a rolling document production on January 13, 2023.
          e) with respect to documents relating to Messrs. Mackey and Tapply, Defendants will
             produce responsive documents by January 31, 2023.
  Ex. B, ECF No. 77. Pursuant to Magistrate Judge Reid’s Order, on January 13, 2023, Defendants
  began their rolling production of documents. In addition, Defendants are currently prioritizing
  review of Messrs. Mackey’s and Tapply’s documents in order to produce responsive, non-
  privileged material by the end of January. See Ex. N, January 10, 2023 Letter to Plaintiffs’ Counsel
  at 1.
  III.    Plaintiffs’ Motion is Procedurally Defective Because it Fails to Seek Relief Pursuant
          to Rule 15 and Violates Local Rule 15.1.
          A request to add parties amounts to a request to amend the complaint, which is governed
  by Federal Rule of Civil Procedure 15(a). See Milner v. Galardi, No. 20-23230-CIV, 2020 WL
  12814852, at *1 (S.D. Fla. Oct. 22, 2020) (assessing plaintiffs’ request to add additional plaintiff
  under Rule 15(a)); Blake v. Batmasian, No. 15-81222-CIV, 2016 WL 7447253, at *1-*2 (S.D. Fla.
  Sept. 15, 2016) (assessing class plaintiffs’ request to amend to add two additional class
  representatives under Rule 15). Additionally, Southern District of Florida Local Rule 15.1 requires
  that a plaintiff seeking to amend a pleading “shall attach the original of the amendment to the
  motion.”
          Here, Plaintiffs have neither sought relief pursuant to Rule 15 nor complied with Local
  Rule 15.1. Plaintiffs should be required to comply with these procedural requirements so that their
  legal arguments regarding amendment and their proposed new factual allegations regarding Ms.
  Mayrand and Mr. Karnas (as well as any new claims) are properly before the Court so that the
  Defendants can respond to them.4 The Motion should be denied without prejudice to the Plaintiffs
  to renew the Motion in compliance with Rule 15 and Local Rule 15.1.


  4 For example, in Plaintiffs’ Motion, Plaintiffs make various factual allegations regarding Ms.
  Mayrand and Mr. Karnas, such as when they allegedly opened accounts with Voyager and the
  circumstances of their allegedly opened accounts with Voyager that need to be included in any
  proposed Second Amended Complaint. See Motion at 5. While Plaintiffs claim to have produced
  documents from both of the new proposed plaintiffs, id. at 1, 5, in fact as set forth in the chart
  annexed as Exhibit E hereto, no documents have been produced by Mr. Karnas, and the 12 pages
  of documents that were offered to be produced by Plaintiffs on behalf of Ms. Mayrand do not
  contain any information suggesting when she even opened her purported Voyager account.
  Federal Rule of Civil Procedure 15 and Local Rule 15.1 require, at a minimum, a proposed


                                                   6
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 7 of 17
                                                                   Case No: 1:22-cv-22538 (Altman/Reid)


  IV.    Plaintiffs Should Not Be Permitted to Substitute the Only Putative Florida Class
         Plaintiff Who Opened an Account After the Press Conference.
         As set forth in their November 18, 2021, Motion to Dismiss, Defendants at no point
  “substantially participated in the offer or sale” of any securities with respect to Voyager. See ECF
  No. 41 at 15-17. At a minimum, Defendants could not have “substantially participated in the offer
  or sale” (see Motion at 2) of Voyager EPAs that were opened prior to October 27, 2021, the date
  of the Press Conference where Defendants announced that they were working with Voyager.
         Discovery has revealed that Sanford Gold is the only Florida Plaintiff who opened an
  account in his own name after the October 27, 2021 Press Conference. Indeed, Defendants’
  investigation has indicated that Pierce Robertson opened a Voyager account in May 2021, and
  document discovery obtained from Voyager has confirmed that Mr. Robertson funded his Voyager
  EPA on June 18, 2021, well before the October 27, 2021 Press Conference. Ex. F, Rob-Voyager-
  00000016 (excerpted to show Mr. Robertson’s June-October 2021 Voyager EPA activity). 5
  Further, although the other remaining Florida Plaintiff, Rachel Gold (Mr. Gold’s daughter) alleges
  in the Amended Complaint that she “purchased an unregistered security from Voyager in the form
  of an EPA” (ECF No. 34 at ¶ 8), in fact Plaintiffs’ counsel has now admitted that the account in
  question was opened solely in the name of Eric Rares, Ms. Gold’s husband. Ex. G, December 30,
  2022 Email from Adam Moskowitz at 8.
         Without any Florida-based plaintiffs, this Court lacks jurisdiction to hear the claims of the
  remaining named Plaintiffs.     Carter, 2021 WL 1165248, at *6; Bristol-Myers Squibb Co. v.
  Superior Ct. of California, San Francisco Cnty., 137 S. Ct. 1773, 1781 (2017) (no specific
  jurisdiction over nonresidents’ class claims against nonresident defendant). Plaintiffs’ proposed
  substitution of Mr. Gold with Ms. Mayrand and Mr. Karnas thus amounts to a request to substitute
  the only Florida Plaintiff without facial impediments to pursuing his otherwise meritless claims,
  and should not be permitted.6

  amended complaint properly including any factual allegations and claims of such proposed
  additional plaintiffs.
  5 This document has been designated as Confidential pursuant to the December 21, 2022,
  Stipulated Protective Order (ECF No. 65). As a result, it will be produced to Chambers for the
  Court’s in camera review if the Court would like to examine it.
  6 Because Plaintiffs effectively seek to completely substitute the Florida Plaintiffs, Plaintiffs’
  reliance on precedent permitting the addition of class representatives is misplaced. See Motion at


                                                   7
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 8 of 17
                                                                      Case No: 1:22-cv-22538 (Altman/Reid)



          The standard for assessing a motion for substitution in a putative class action differs
  depending on whether substitution is proposed before or after a class has been certified. Where a
  putative class, as here, has not been certified, the class has not obtained “a legal status separate
  from that of the named plaintiffs.” Bailey, 180 F. App’x at 865 (quoting Lynch v. Baxley, 651 F.2d
  387, 388 (5th Cir. Unit B July 1981)). In that circumstance, the district court has discretion to
  deny substitution. Id. at 865. In Bailey, the magistrate judge (exercising dispositive jurisdiction
  upon consent of the parties) dismissed the lead plaintiff’s securities claim as time-barred and
  denied the other members of the putative class leave to substitute another class representative. Id.
  at 864. In affirming denial of the substitution request, the Eleventh Circuit distinguished
  Birmingham Steel Corp. v. TVA, 353 F.3d 1331 (11th Cir. 2003), upon which Plaintiffs heavily rely
  (see Motion at 6, 7 n.2), stating:
          Each of the cases cited by [plaintiff] deals with a class that was already certified.
          See, e.g., Birmingham Steel Corp. v. TVA, 353 F.3d 1331, 1340 (11th Cir. 2003). In
          Birmingham Steel, we reversed the decertification of a class based on the
          inadequacy of the class representative when the district court failed to provide leave
          to find a suitable substitution. Id. at 1342. Central to our decision was that “once
          certified, a class acquires a legal status separate from that of the named
          plaintiffs.” Id. at 1336 (citing Lynch v. Baxley, 651 F.2d 387, 388 (5th Cir. Unit B
          July 1981)).
  Bailey, 180 F. App’x at 865 (emphasis added).7



  5-6 (citing In re Pharm. Indus. Average Wholesale Price Litig., 277 F.R.D. 52 (D. Mass. 2011);
  Churchill v. Cigna Corp., 2011 WL 3563489 (E.D. Pa. Aug. 12, 2011); Florida Pediatric Society
  v. Benson, No. 05-23037, 2008 U.S. Dist. LEXIS 66235 (S.D. Fla. 2008); Natale v. General
  Motors Corp., 2006 WL 1458585 (7th Cir. May 8, 2006).
  7 Plaintiffs’ reliance on other post-certification precedent is similarly unavailing. See Motion at 6
  (citing Mauldin v. Wal-Mart Stores, Inc., 2006 WL 739696 (N.D. Ga. 2006) (allowing substitution
  after certification); Memisovski v. Garner, No. 92 C 1982, 2002 WL 31687665, at *1 (N.D. Ill.
  Nov. 27, 2002) (same); Pollard v. Baretz, 2001 WL 936355 (E.D. Mich. 2001) (allowing
  substitution where the court already “issued the Preliminary Approval Order in Connection with
  Class Action Settlement Proceedings”). Though the court in Hall v. Bank of America, permitted
  pre-certification substitution of class plaintiffs, the order cited by Plaintiffs contains no analysis of
  the issue, lending no weight to why substitution should be permitted here. See No. 1:12-cv-22700-
  FAM, ECF No. 233 (S.D. Fla. July 16, 2013). Reed v. Rhodes is also inapplicable, as that case
  involved a putative class of public school students in a school desegregation case that had been
  pending for twenty-five years, thus necessitating the substitution of class members who had
  graduated since the case’s initiation. 934 F. Supp. 1492 (N.D. Ohio 1996); see Reed v. Rhodes,
  179 F.3d 453, 456 (6th Cir. 1999) (noting that the case was initially filed in 1973 and had been


                                                     8
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 9 of 17
                                                                       Case No: 1:22-cv-22538 (Altman/Reid)



          Similarly, in Hunt v. Thermal Insulation, Inc., the district court relied on the Eleventh
  Circuit’s distinction in Bailey between pre- and post-certification classes in refusing plaintiff ’s
  attempt to substitute a class representative after the court held that the original class plaintiff lacked
  standing to bring the claims in question. No. 1:09-CV-1445-WSD, 2010 WL 11507019, at *3-*4
  (N.D. Ga. Apr. 30, 2010); see also Jackson v. Equifax Info. Servs. LLC, No. 1:13-CV-2382-MHC,
  2015 WL 13777246, at *7–8 (N.D. Ga. Sept. 11, 2015).
          Here, as in Bailey and Hunt, none of the two remaining Florida Plaintiffs have viable claims
  against Defendants. Thus, Plaintiffs’ substitution request effectively seeks to start a new Florida
  action against Defendants, since absent the presence of a Florida plaintiff, this case must be
  dismissed pursuant to this Court’s ruling in Carter v. Ford Motor Co., 2021 WL 1165248, at *6.
          Denying the Motion will not prejudice the putative class members, since their state law
  claims have been tolled during the pendency of this action. See, e.g., Bailey, 180 Fed. Appx at 865
  (“Further, the members of the putative class are not prejudiced by the decision of the magistrate
  judge because their individual claims were tolled from the time the class action was filed until the
  complaint was dismissed.”); Jackson, 2015 WL 13777246, at *7 (same) (citing Bailey); Hunt, 2010
  WL 11507019, at *4 (noting that members of putative FLSA collective action who filed opt-in
  forms would not be prejudiced by denying substitution of named plaintiff because their individual
  claims were tolled). Conversely, granting the Motion and allowing Plaintiffs to substitute new
  Florida-based plaintiffs forces Defendants to incur substantial costs in investigating and defending
  these new plaintiffs and their claims.
  V.      Plaintiffs Cannot Evade the PSLRA’s Stay of Discovery by Delaying Their Announced
          Intention to Add Federal Securities Claims to This Case.
          This Court granted Plaintiffs until February 24, 2023, to respond to the November 18, 2022
  Motion to Dismiss or to file a Second Amended Complaint. ECF No. 72. Plaintiffs’ request for
  that extension, at the time, was based on their professed desire to take jurisdictional discovery and
  to the extent they were able to do so, add allegations relating to personal jurisdiction. See ECF
  No. 67 ¶ 6 (in which Plaintiffs assert that they are seeking to extend their deadline to “move for
  leave to file an amended complaint to, among other things, include additional jurisdictional
  allegations”).


  pending for 25 years). Here, there is no such compelling reason for Plaintiffs’ proposed complete
  substitution of the Florida Plaintiffs.

                                                      9
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 10 of 17
                                                                     Case No: 1:22-cv-22538 (Altman/Reid)



          In their Motion, Plaintiffs now state their intention to file an amended pleading to also
   allege federal securities claims against Defendants. See Motion at 3 (intimating that Plaintiffs will
   amend complaint “to include additional allegations and claims, such as a federal securities claim”),
   and 5 (stating that proposed Plaintiffs Mayrand and Karnas will assert that Defendants promoted
   Voyager EPAs “in direct violation of federal and state securities laws”). This is a significant
   development that directly affects this Court’s direction that merits discovery as to the purely state
   law claims asserted in the Amended Complaint should not be stayed during the pendency of the
   Defendants’ Motion to Dismiss, which was directed solely to the state law claims. If Plaintiffs had
   asserted federal securities claims against Defendants at the outset (and there is no reason to believe
   Plaintiffs could not have done so, since most states’ securities laws are modeled on the federal
   laws), Defendants would have benefited from the protections afforded by the PSLRA, including a
   mandatory stay of discovery while Defendants’ Motion to Dismiss remains pending. See 15 U.S.C.
   78u-4(b)(3)(B). The purpose of this provision of the PSLRA is to “protect[ ] defendants from
   plaintiffs who would use discovery to substantiate an initially frivolous complaint.” Newby v.
   Enron Corp., 338 F.3d 467, 471 (5th Cir. 2003); see also In re Rational Software Sec. Litig., 28 F.
   Supp.2d 562, (N.D. Cal. 1998) (“[T]he plain intent of Congress was to preclude intrusive and
   burdensome discovery in securities fraud actions until the plaintiffs have stated a viable claim.”).
          Yet Plaintiffs appear to be doing precisely the sort of end run that the PSLRA was designed
   to prohibit. Defendants submit that the claims against them are entirely lacking in legal merit and
   that Plaintiffs’ eager effort to expedite discovery has been to try to take as much discovery as
   possible before the certain stay of discovery occurs when Defendants promptly seek dismissal of
   any federal securities claims asserted.     Plaintiffs have aggressively pursued discovery from
   Defendants and a variety of third parties while Defendants’ Motion to Dismiss has been pending
   since November 18, 2022, and Plaintiffs’ obligation to respond or to file their amended pleading
   has been extended to February 24, 2023. That discovery relates not only to the merits of the
   already-asserted state law claims and the to-be-asserted federal securities claims in this case, but
   quite incredibly also to the merits of other claims brought in other federal cases where the PSLRA
   will apply by Plaintiffs’ counsel relating to FTX and even to a related securities class action
   involving Voyager in the Southern District of New York where the same Plaintiffs’ counsel recently




                                                    10
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 11 of 17
                                                                       Case No: 1:22-cv-22538 (Altman/Reid)



   asked to be appointed as lead counsel under the PSLRA.8 Indeed, on January 10, 2023, the same
   Plaintiffs’ counsel in this action filed a motion to be appointed lead counsel in a federal securities
   class action against Mr. Ehrlich and others (but not Mr. Cuban or the Mavericks) in the Southern
   District of New York relating to the same practices by Voyager at issue in this case. Roberts v.
   Ehrlich, Case No. 22-cv-09590-PKC, ECF No. 19 (S.D.N.Y. Jan. 10, 2023 (seeking to be
   appointed lead counsel because the Roberts operative complaint asserts claims that are “materially
   identical” to those set forth in this and other actions). It is readily apparent that Plaintiffs’ counsel
   in this case is seeking merits discovery both to prepare an amended pleading that will be
   immediately stayed under the PSLRA and to aid in taking discovery for other cases that are already
   fully subject to the PSLRA.
           Courts regularly prohibit plaintiffs from circumventing the PSLRA in a variety of contexts.
   See, e.g., Newby, 338 F.3d at 473 (affirming stay of discovery in state court action pursuant to the
   PSLRA and the related Securities Litigation Uniform Standards Act, where permitting discovery
   to proceed would have impermissibly circumvented the stay provided for by the PSLRA); Log On
   Am., Inc. v. Promethean Asset Mgmt., LLC, 210 F. Supp.2d 291 (S.D.N.Y. 2001) (declining to
   allow plaintiff to utilize confidential information secured in a different action because this “would
   circumvent the stay in this action under the [PSLRA]”).
           Plaintiffs should not be permitted to amend the operative pleading to assert federal
   securities claims when they have had the benefit of discovery while Defendants’ Motion to Dismiss
   is pending. Defendants believe that Plaintiffs have been attempting to secure such discovery in



   8 Plaintiffs also are seeking non-party discovery that will aid their efforts in PSLRA-subject
   actions. For example, Plaintiffs have served, or are attempting to serve, the law firm of Sullivan
   & Cromwell LLP with a deposition subpoena in this action, seeking that firm’s deposition and
   documents on January 27, 2023, and have stated a present intent to depose a representative, noting
   that “we are sure you saw the Congressional committee that was established to review their
   involvement in FTX.” See Ex. J, January 11, 2023 Email from Plaintiffs’ Counsel at 3. Sullivan
   & Cromwell is in no way involved with this action, but rather, upon Defendants’ information and
   belief, was counsel to Sam Bankman-Fried and FTX. It is Defendants’ understanding that Sullivan
   & Cromwell was involved in the auction process in the Voyager bankruptcy proceeding, i.e.,
   events that post-dated Voyager’s bankruptcy filing. Defendants are further advised that Mr.
   Ehrlich, whose non-party deposition has been sought by Plaintiffs in this action, has expressed
   concern to Plaintiffs’ counsel that their effort to depose him in this action, where he is no longer a
   party, appears to be an effort to circumvent the stay in place in the Roberts action, where he is
   currently a named defendant and which is subject to the PSLRA.

                                                      11
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 12 of 17
                                                                     Case No: 1:22-cv-22538 (Altman/Reid)



   this action well aware that once a federal securities claim is added to this action, the PSLRA stay
   will come into play immediately, requiring a complete recasting of the Scheduling Order in place
   in this case. To avoid any suggestion of gamesmanship, the Court should put the following choice
   to Plaintiffs: either assert federal securities claims on February 24, 2023, but have discovery stayed
   now since Defendants will seek the immediate dismissal of any such securities claims against
   them, or confirm that Plaintiffs will assert only state law claims in any further amended complaint
   to avoid the stay imposed by the PSLRA. Plaintiffs cannot have it both ways; otherwise, they will
   have simply used this Court’s extension of time to respond or amend, and permission to take fact
   discovery in the interim, to make an end run around the PSLRA.
   VI.    Plaintiffs’ Use of Expedited Procedures Is Improper
          There is no reason for an expedited briefing schedule here, and this is now Plaintiffs’
   second expedited motion submitted on the eve of a holiday. See ECF No. 67 (submitted on
   December 28, 2022). Local Rule 7.1(d) only permits waiver of the 14-day deadline for opposition
   briefs if the moving party “set[s] forth in detail the date by which an expedited ruling is needed
   and the reason the ruling is needed by the stated date.”
          As the close of fact discovery is set for July 5, 2023, there simply is no reason for this
   Motion to be heard on an expedited basis. See ECF No. 58 at 2. While Plaintiffs claim that the
   proposed additional plaintiffs must be made available for a deposition prior to February 24, 2023,
   the date by which Plaintiffs must either file a Second Amended Complaint or file their response to
   Defendants’ Motion to Dismiss, Plaintiffs provide no rational explanation for this assertion.
   Deposition dates for the nine non-Florida Plaintiffs have not yet been set, and Plaintiffs have
   proposed making the non-Florida Plaintiffs available up to and through March 2023, well after the
   February 24, 2023 deadline to either amend the current Amended Complaint or respond to
   Defendants’ pending Motion to Dismiss. See Ex. O, December 27, 2022 Email from Adam
   Moskowitz at 2. Defendants have already submitted their Motion to Dismiss attacking the legal
   sufficiency of Plaintiffs’ claims, and the proposed substitute plaintiffs’ testimony should have no
   bearing on that issue. Further, the proposed substitute plaintiffs’ testimony can have no bearing
   on issues of jurisdictional discovery, as they cannot speak to either Mr. Cuban or the Mavericks’
   jurisdictional contacts with Florida, and Plaintiffs cannot claim consistent with Federal Rule of
   Civil Procedure 11 that they had any direct contact with Mr. Cuban at any point in time.



                                                    12
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 13 of 17
                                                                    Case No: 1:22-cv-22538 (Altman/Reid)


   VII.   Request for Hearing
          Pursuant to Local Rule 7.1(b), Defendants request a hearing to address this Motion and to
   clarify whether Plaintiffs intend to file a Second Amended Complaint asserting federal securities
   law claims. If so, Defendants contend that the trial and pre-trial schedule set forth in the Court’s
   December 7, 2022 Order (ECF No. 58) should be altered. 9 These issues are best addressed at a
   hearing during which the Court could directly question the parties, rather than through briefing.
   At a hearing, the Court can direct Plaintiffs to provide an on-the-record statement regarding their
   intentions to amend, and then, depending on Plaintiffs’ response, efficiently revise the schedule as
   needed and in direct collaboration with the parties.
   VIII. Conclusion
          For the reasons discussed above, Mr. Gold’s ability to withdraw as a plaintiff should be
   respected. But the remainder of the Motion should be denied. As stated at the outset of this
   response, Defendants respectfully request that the Court:
          (1) deny the Motion to add new Florida plaintiffs;
          (2) direct Plaintiffs to promptly inform the Court and Defendants whether they are
              responding to the pending Motion to Dismiss or instead filing a Second Amended
              Complaint;
          (3) if the latter, direct Plaintiffs to state whether they are adding federal securities law
              claims; and
          (4) if so, establish a briefing schedule for Defendants’ motion to dismiss directed to such
              Second Amended Complaint but stay discovery now since Defendants will seek the
              immediate dismissal of any such securities claims against them and the PSLRA’s
              discovery stay will come into effect.




   9 Even if Plaintiffs choose not to file a Second Amended Complaint with federal securities claims,
   Defendants request that the deadlines for exchange of expert and rebuttal reports be extended
   (currently set for February 23 and March 9, 2023, respectively, ECF No. 58). The deadline for the
   initial exchange of expert reports is set for one day prior to the February 24, 2023 deadline for
   Plaintiffs’ to move to file a Second Amended Complaint. ECF No. 72. Defendants request that
   this deadline be extended to provide Defendants with a sufficient amount of time for Defendants’
   experts, inter alia, to address and analyze any new (i) allegations, (ii) causes of action, (iii) new
   parties in any Second Amended Complaint filed by Plaintiffs, (iv) any developments in discovery,
   and (v) to otherwise be in a position to address the implications of the pending sales proceeding in
   the Voyager bankruptcy proceeding which will materially impact any expert report that is
   submitted by Defendants.

                                                    13
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 14 of 17
                                                                Case No: 1:22-cv-22538 (Altman/Reid)



   Respectfully submitted this 16th Day of January 2023.



                                                      /s/ Christopher E. Knight
                                                      CHRISTOPHER E. KNIGHT, ESQ.
                                                      Fla. Bar No. 607363
                                                      Email: cknight@fowler-white.com

                                                      ESTHER E. GALICIA, ESQ.
                                                      Fla. Bar No. 510459
                                                      Email: egalicia@fowler-white.com

                                                      ALEXANDRA L. TIFFORD, ESQ.
                                                      Fla. Bar No. 0178624
                                                      Email: atifford@fowler-white.com

                                                      FOWLER WHITE BURNETT, P.A.
                                                      Brickell Arch, Fourteenth Floor
                                                      1395 Brickell Avenue
                                                      Miami, Florida 33131
                                                      Telephone:     (305) 789-9200
                                                      Facsimile:     (305) 789-9201

                                                      -and-

                                                      PAUL C. HUCK, JR., ESQ.
                                                      Fla. Bar No. 0968358
                                                      Email: paul@thehucklawfirm.com

                                                      THE HUCK LAW FIRM
                                                      334 Minorca Avenue
                                                      Coral Gables, Florida 33134
                                                      Telephone: (305) 441-2299
                                                      Telecopier: (305) 441-8849

                                                      -and-




                                                 14
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 15 of 17
                                                       Case No: 1:22-cv-22538 (Altman/Reid)


                                             STEPHEN A. BEST, ESQ.
                                             Pro Hac Vice
                                             Email: sbest@brownrudnick.com

                                             RACHEL O. WOLKINSON, ESQ.
                                             Pro Hac Vice
                                             Email: rwolkinson@brownrudnick.com

                                             BROWN RUDNICK LLP
                                             601 Thirteenth Street NW Suite 600
                                             Washington, DC 20005
                                             Telephone (202) 536-1755

                                             -and-

                                             SIGMUND WISSNER-GROSS, ESQ.
                                             Pro Hac Vice
                                             Email: swissner-gross@brownrudnick.com

                                             JESSICA N. MEYERS, ESQ.
                                             Pro Hac Vice
                                             Email: jmeyers@brownrudnick.com

                                             BROWN RUDNICK LLP
                                             Seven Times Square
                                             New York, NY 11036
                                             Telephone: (212) 209-4930




                                        15
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 16 of 17
                                                                  Case No: 1:22-cv-22538 (Altman/Reid)


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 16, 2023, the foregoing document was electronically

   filed with the Clerk of the Court using CM/ECF. I ALSO CERTIFY that the foregoing document

   is being served this day on all counsel of record on the attached Service List in the manner

   specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

   other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                       /s/ Christopher E. Knight
                                                        CHRISTOPHER E. KNIGHT, ESQ.
                                                        Fla. Bar No. 607363
                                                        Email: cknight@fowler-white.com




                                                  16
Case 1:22-cv-22538-RKA Document 82 Entered on FLSD Docket 01/17/2023 Page 17 of 17
                                                                   Case No: 1:22-cv-22538 (Altman/Reid)


                                          SERVICE LIST

    Adam M. Moskowitz, Esq.                           Stephen Neal Zack, Esq.
    Joseph M. Kaye, Esq.                              szack@bsfllp.com
    Barbara C. Lewis, Esq.                            Hon. Ursula Ungaro, Esq.
    The Moskowitz Law Firm, PLLC                      uungaro@bsfllp.com
    2 Alhambra Plaza, Suite 601                       Boies Schiller Flexner LLP
    Coral Gables, Florida 33134                       100 S.E. 2nd St., Suite 2800
    E-mail: adam@moskowitz-law.com                    Miami, FL 33131
    Email: joseph@moskowitz-law.com
    Email: barbara@moskowitz-law.com                  Co-Counsel for Plaintiffs and the Proposed
                                                      Classes
    Counsel for Plaintiffs and the Proposed
    Classes                                           VIA CM/ECF

    VIA CM/ECF

    David Boies, Esq.
    Pro Hac Vice
    Boies Schiller Flexner LLP
    333 Main Street
    Armonk, NY 10504
    Email: dboies@bsfllp.com

    Co-Counsel for Plaintiffs and the Proposed
    Classes

    VIA CM/ECF




                                                 17
